Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 1 of 17 PageID #: 17




                               EXHIBIT A
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 2 of 17 PageID #: 18
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 3 of 17 PageID #: 19
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 4 of 17 PageID #: 20
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 5 of 17 PageID #: 21
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 6 of 17 PageID #: 22
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 7 of 17 PageID #: 23
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 8 of 17 PageID #: 24
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 9 of 17 PageID #: 25
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 10 of 17 PageID #: 26
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 11 of 17 PageID #: 27
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 12 of 17 PageID #: 28
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 13 of 17 PageID #: 29
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 14 of 17 PageID #: 30
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 15 of 17 PageID #: 31
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 16 of 17 PageID #: 32
Case: 4:23-mc-00286-HEA Doc. #: 1-1 Filed: 03/17/23 Page: 17 of 17 PageID #: 33
